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                                                  Attorneys for Individual Defendants
13
14
                       IN THE UNITED STATES DISTRICT COURT
15
                          CENTRAL DISTRICT OF CALIFORNIA
16
17   RAY LIOTTA, an individual; and            Civil No. CV 14-1632 CAS (AJWx)
     PUNKY, INC., a California
18   Corporation,
                                               STIPULATION FOR DISMISSAL OF
19                               Plaintiffs,   ENTIRE ACTION
20   vs.
                                               HON. CHRISTINA A. SNYDER,
21   NERIUM INTERNATIONAL,                     PRESIDING
     LLC, a Texas Limited Liability
22   Company; individuals
     MICHAEL SHOUHED;
23   KELLY HEFFERNAN; JUDITH
     PEREZ; SHERI VARESZADEH;
24   JACKIE BRANN; NELSON
     BRANN; VICTORIA ROWE;
25   KIMBERLY FELICE;
     MICHELLE MANIRE; and DOES
26   1–10,
27   Defendants.
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                                STIPULATION FOR DISMISSAL
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 1   TO THE COURT:
 2         Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure and the
 3   Settlement Agreement between the parties, all Plaintiffs and all Defendants hereby
 4   stipulate to the dismissal with prejudice of all claims by Plaintiffs against Defendants.
 5   To the extent the Settlement Agreement does not provide otherwise, each party shall
 6   bear its own costs, attorneys’ fees, and other expenses relating to this action. The
 7   Court, however, will retain jurisdiction to enforce the terms of the Settlement
 8   Agreement and, if necessary, to set aside this Stipulation for Dismissal for that
 9   purpose.
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                                            Respectfully submitted,
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                                            THE HECKER LAW GROUP
12
13   Dated: January 22, 2015           By: /s/ James M. Slominski
                                            Gary A. Hecker
14                                          James M. Slominski
                                            Attorneys for Plaintiffs
15                                          RAY LIOTTA;
                                            PUNKY, INC.
16
17                                          LEOPOLD, PETRICH & SMITH, P.C.
18   Dated: January 22, 2015           By: /s/ Edward A. Ruttenberg
19                                         LOUIS P. PETRICH
                                           EDWARD A. RUTTENBERG
20                                         Attorneys for Defendant
                                           NERIUM INTERNATIONAL, LLC
21
22                                          DAAR & NEWMAN
                                            a Professional Law Corporation
23
24   Dated: January 22, 2015           By: /s/ Jefferey J. Daar
                                            Jefferey J. Daar
25                                          Michael R. Newman
                                            Attorneys for Defendants
26                                          MICHAEL SHOUHED;
                                            KELLY HEFFERNAN; JUDITH PEREZ;
27                                          SHERI VARESZADEH; JACKIE BRANN;
                                            NELSON BRANN; VICTORIA ROWE;
28                                          KIMBERLY FELICE; MICHELLE MANIRE

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                               STIPULATION FOR DISMISSAL
